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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                              Hon. Robert J. Jonker
 v.
                                                              Case No. 1:17-cr-00193-19
 MAX AVERY,

       Defendant.
 ________________________________/

                              ORDER OF DETENTION

      This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a two-count Superseding Indictment.

Count 1 charges him with conspiracy to distribute heroin, cocaine, and marijuana, in

violation of 21 U.S.C. §§ 846 and 841(a)(1); and count 2 charges him with possession

with intent to distribute heroin, in violation of 21 U.S.C. § 841 (a)(1) and (b)(1)(B)(i).

Given the nature of the charges, there is a statutory rebuttable presumption in favor

of detention.

      The government sought defendant’s detention on the basis the he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a significant risk of flight,

18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing on December 11, 2017, at

which defendant was represented by counsel.

      Having considered the information presented at the hearing, the parties’ oral
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submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the presumption of

detention regarding risk of flight, but has not rebutted the presumption of detention

as to danger to the community. The Court also finds, as explained on the record, that

the government has sustained its burden of proving by clear and convincing evidence,

that he poses a danger to the community. Further, the Court finds that there is no

condition or combination of conditions of release that will ensure the safety of the

community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

DONE AND ORDERED on December 12, 2017.



                                              /s/ Phillip J. Green
                                             PHILLIP J. GREEN
                                             United States Magistrate Judge




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